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ANDREA P. HAPTMAN (State Bar NO. ll5678)
JAMES M. LICHTMAN (State Bar NO. 188830)

    
  

NATIONAL BROADCASTING coianNY, INC. wm
330 Bob nope nrive, Suite C\-z/O"/ j=j~~._
Burbank, California 91523 . q;:»
(318) 840-4921 P“°:W § §§ g
(818) 840-3397 Se" , ‘“""~=.r.
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CaSe NO. SACV 99-1587 AHS [EEX)

+eeee@seaq)sT/FLTEMENT or

UNCONTROVERTED MATERIAL FACTS
AND CONCLUSIONS OF LAW IN
SUPPORT OF DEFENDANT NBC
SUBSIDIARY (KNBC~TV), INC.’S
MOTION FOR SUMMARY JUDGMENT

Plaintiff,

V.

KNBC, and DOES l through lO,

 

inclusive,
DATE: l:'cbiuo.i_y 23, ZGGGQ
Defendants. CTRM: lO-A (The Hon.

Alicemarie H. Stotler]

(Notice of Motion, Memorandum
of PointS and Authorities,
Declarationa of Patricia Caneda
and James M. Lichtman and
[Proposed] Judgment filed

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After consideration of the papers submitted in Support of
and in opposition to the Defendant NBC Subsidiary (KNBC-TV),

c ’S Motion for Summary Judgment,J3az€szamnnnrtnfannnnwif>the

pleadings, files, and records in this action, and Such matters of

which the Court may take judicial notic£,NIrE£CQ_N_{CMSarminea

that the following facts have been established

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UNCONTROVERTED MATERIAL FACTS

 

l. On September 23, 1999, Richard Gilbert sent a letter to
defendant NBC Subsidiary (KNBC-TV), Inc. (“KNBC”) asking the
station to waive any objection to his satellite carrier’s

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retransmission of NBC.prog;ammentho his home. See Letter dated

 

 

September 23, 1999 to Mr. [stet} Carole Black from Richard C.
Gilbert (attached as Ex. A to the accompanying Declaration of

Patricia Caneda (“Caneda Decl.”)).
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2. /%HHBG-g§anted~that waiver request on November 3, 1999.

§ee Letter dated November 3, 1999 by Patricia Caneda (attached as
` Ex. B to Caneda Decl.).

3. On October 22, 1999, twenty-nine days after plaintiffs
sent their initial request but before that request had been
granted, plaintiff commenced this action in the Superior Court of
Orange County, California against defendants KNBC_and Does l
through 10 (collectively "defendants"). §ee Complaint (attached

as Ex. A to Lichtman Decl.), p. l.

for “unfair business practices,” “fraud, ” “declaratory judgment,”
and “injunctive relief. ” _£bmpleeesT-pq_le,a?yyév

5. Plaintiff’s first cause of action for unfair business

practices alleges that KNBC had a duty timely to respond to

wrongfully to deny such requests. Complaint, I 12~13, 25. The
Complaint further alleges that, but for defendants' purported

scheme, plaintiff would be enjoying his “constitutional right” to

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44 receive-NBG-p£eg§emmang~via9§a;ellite transmission, ld. at I 21,

and that he has “suffered damages including interference with the

 

 

 

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4. The Complaint purports to assert afate?causes of action d#

plaintiff’s waiver request, and that KNBC is engaged in a scheme

 

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use and enjoyment of property rights, liberties, happiness.”
ld;, 1 23.

6. Plaintiff's Complaint does not set forth any separate
allegations in support of plaintiff’s remaining causes of action
for fraudr declaratory judgment, or injunctive relief, but rather
incorporates by reference the allegations f the unfair business

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practice claim)V Complaint, 1 28-30.

7. Plaintiff's Complaint seeks a mandatory injunction
requiring KNBC to approve his waiver request. Complaint, pp. 4-5.
lt also seeks declarations “[t]hat the Satellite Home Viewer Act
is unconstitutional,” “[t]hat the burden of proof re:
transmission frequency is on the Defendant, not the Plaintiff,”
and “[t]hat Defendant has engaged in unfair business practices.”
ld; at p. 5. In addition, the Complaint seeks unspecified
compensatory and punitive damages. ld; at pp. 4-5.

8. On December 24, 1999, KNBC removed the case to this
Court on the grounds of Copyright Act preemption. §ee KNBC’s
Notice of Removal, at 1-9.

9. Since filing the Complaint, plaintiff has
identified further purported “constitutional issues” that he
claims this Court should decide4 These include. “[t]he
constitutionality of vesting a competitor with the power to
approve waivers”; “[t]he vagueness of standards for approval”;
“[t]he issue that there is no duty to ever accommodate a Request
fcr Waiver”; “[t]he issue that approval of a waiver is at will
and subject to revocation”; “[d]id KNBC have a duty to assist
Plaintiff to make certain that Plaintiff receives a signal
broadcast that he was seeking to receive and to not obstruct

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Plaintiff?”; and “[w]hat happens if a party prevails in
arbitration [under the 1988 Act] and the other party refuses to
pay?,” among others. Letter dated December 38, 1999 to James M.
Lichtman from Diane J. Marlowe (attached as Ex. C to Lichtman
Decl.), at 1; Plaintiff's [Separate] “Joint Case Management
Statement” (attached as Exhibit E to Lichtman Decl.), at 2-3.

Based on the foregoing uncontroverted material facts, the
Court hereby makes its,

CONCLUSIONS OF LAW

 

1. This Court has jurisdiction over this matter pursuant
to 28 U.S.C. §§ 1331, 1338(a) and 1441{a).

2. In 1988, Congress enacted the Satellite Home Viewer Act
(“the 1988 Act”), 17 U.S.C. § 119, as part of the federal
Copyright Act. wThe 1988.Act was amended by the Satellite Home
Viewer Improvement Act of 1999 (the “1999 nct”), P.L. 106-113, §§
1001-1012, 113 Stat. 1501. Except for certain provisions not
pertinent to this action, the 1999 Act went into effect on
November 29, 1999. §e§ 1999 Act, P.L. 186-113, § 1012. Thus,
the 1988 Act was in effect at all times relevant to this action.

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waive its right to challenge satellite carrier retrans ' ions is
set forth in the 1988 Act. This purported du ' hus falls within
the “general scope” and “subject mat - of copyright, and any
common law or state law cla ~ eased thereon is expressly

preempted by Sect e- 301 of the Copyright Act. 17 U.S.C. §

BOl(a]. ' aintiff’s state law damage claims must therefore be

Case 8:99-cv-01587-%S-EE Document 28 Filed 06/27@ Page 4 _of 8 Page |D #:_15 `

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4. The 1988 Act provided satellite carriers with a limited
statutory license to retransmit the signal of network stations
such as KNBC to “unservedf households. 1988 nct, § 119(a){2)

5. The rights and obligations of the 1988 Act ran solely
on one

between network stations (and other copyright holdersl

hand, and satellite carriers on the other; the Act did not create

any rights on behalf of individual satellite subscribers. Thus,
the 1988 Act created no cause of action, either express or
implied, in favor of individual satellite subscribers that submit
requests for satellite waivers to network stations.
6. Further, the 1988 Act imposed no obligation upon KNBC
ever to waive its right to challenge whether any particular
subscriber receiving the satellite retransmission of NBC network
programming, within the local area for which KNBC has the
exclusive right to broadcast such programming, qualified as

“unserved.” Nor did KNBC have a duty under the Act to read,

 

review, or respond to any correspondence sent to_it by individual

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satellite subscribers, on a particular timetable or otherwise.
Whether or not KNBC chose to respond to waiver requests from

individual satellite subscribers, it had no legal duty under the

 

1988 Act to do so. See, e.g., RBC, lnc. v. Primetime 24, Joint
Venture, 17 F.Supp.Zd 478, 484-85 (M.D.N.C. 1998).
7. There is no merit to the “constitutional issues”

purportedly identified by plaintiff. Plaintiff has no
constitutional right to receive copyrighted network programming
via retransmission by a satellite carrier. See, e.g., United

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Videor Inc. v. F.C.C.,_89D F.2d 1173 (D.C. Cir. 1989); California

 

satellite sys. v. seim@n, 767 r.za 1364 199 cir. 19851.

 

8. In addition, the “ccnstitutional issues” raised by
plaintiff are moot. Neither a declaration as to the
constitutionality df the 1988 Act nor an injunction ordering KNBC
to consider and/or grant (as a constitutional matter) plaintiff’s
waiver request could presently serve any possible purpose, since
plaintiff has obtained the waiver he requested and Congress has
amended the 1988 Act in a way that eliminates the “issues”
perceived by plaintiff.

9. “Where intervening legislation has settled a
controversy involving only injunctive or declaratory relief, the

controversy has become moot.” Bunker_btd. Partnership v. United

 

rares, 320 F.za 393, 311 198 cir. 199?); See also Un1:ea slaq.

 

& Constr. Trades Council v. Mayor & Council of Camden, 465 U.S.

208, 213 (1984); Bradley v. Judges of Superior Ct., 531 F.2d 413,

 

417 (9“`Cir. 1976). Under the 1999 Act, individual subscribers
will be able to receive the satellite retransmission of local
network stations without the need to obtain waivers from such
stations. see 1999 Act, P.L. 106-113, § 1002 (to be codified at
17 U.S.C. § 122), § 1009 (to be codified at 47 U.S.C. § 325(b)).
The 1999 not also creates a procedure allowing subscribers
unserved by a local station to obtaln, by submitting a request
through his or her carrier, a waiver from a network station
within 30 days. §§§ id;, § 1008(a) ito be codified at 47 U.S.C.
§ 339(c)(2]). In addition, the 1999 Act implements a process to

determine whether there is any better standard for determining

 

 

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whether a household qualifies as “unserved.” §§§ id;, § 1008(a)
(to be codified at 47 U.S C. § 339(c)(1)).

10. Further, plaintiff cannot assert against KNBC a right
to damages for purported violations of his constitutional rights.
Such relief could only be sought here through a § 1983 cause of
action, which requires proof that a state actor, acting under
color of state law, deprived the plaintiff of a right secured by

the federal constitution or a federal statute. 42 U.S.C. § 1983,

see, e.g., Lugar v. Edmondson Oil Co., 457 U.S. 922, 925-942

 

(19821. Such an action cannot lie against KNBC, which plaintiff

does not even allege to be a “state actor.” See,,e.g., DeBauche

 

v. virginia Commonwealth Unlv., 7 F.Supp.Zd 718, 724 (E.D. Va.

 

19981; Brownson v. Bogenschutz, 968 F. Supp. 795, 797-98 (E.D.

 

Wisc. 1997).

ll. Wlth respect to those “constltutional issues” that do
not relate to the facts of this case, any declaration both would
moot and would constitute an improper advisory opinion, as would

any declaration relating to tbe 1999 Act. See, e.g., Bunker Ltd.

 

Partnershlp, 820 F.2d at 31.

DATED:?¢‘¢:&Q, 2000 ' '
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AL CEMARIE H. '
United States Distrlct Judge

  

Submitted by'

ANDREA R. HARTMHN

JAMES M LICHTMA
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James H. Lichtman
Attorne for Defendant
NBC SUB DIA`_RY (I<I\TBC“TV), .'LNC.

DATED: February 4, 2000

 

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PROOF OF SE'.RV`ICE

1 am employed in the County of Los Angeles, State of
California. I am over the age of 18 and not a party to the
within action; my business address is 330 Bob Hope Drive, Room
C-205, Burbank, California 91523.

On February 4, 2000, I served the foregoing document
described as [PROPOSED] STATEMENT OF UNCONTROVERTED MATERIAL
E'ACTS AND CONCLUSIONS OF LAW IN SUPPORT OF DEFENDANT NBC
SUBSIDIARY (I\'NBC-TV) , INC.’S MOTION FOR SLMMARY JUDGMEN‘I‘ On the
interested parties in this action by placing a true and correct

copy thereof enclosed in a sealed envelope addressed as follows:

Diane J. Marlowe, Esq.

GILBERT a MARLOWE

1901 East Fourth Street, Sulte 312
Santa sna, CA_92705-3918

X (BY MAIL) l am "readily familiar" with National
Broadcasting Company, Inc.'s practice of collection and
processing correspondence for mailing. Under that practice, it
would be deposited with the U.S. postal service on that same day
with postage thereon fully prepaid at Burbank, California, in the
ordinary course of business.

Executed on February 4, 2000, at Burbank, California.
X (FEDERAL) 1 certify that 1 am employed in the office of
a member of the bar of this Court at whose direction the service

was made.

QSM 1311 .'KU/LLLUI’"r;\l/w

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